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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 UNITED STATES OF AMERICA

                    v.                                   No. 19 CR 669

 GREGG SMITH,                                       Judge Edmond E. Chang
 MICHAEL NOWAK, and
 JEFFREY RUFFO,

               Defendants.

                   UNITED STATES MEMORANDUM IN
               SUPPORT OF THE ADMISSION OF GX 84 & 463

      Pursuant to the Court’s order during the June 2, 2022 pretrial conference, the

United States submits this memorandum in support of the admission of Government

Exhibit (“GX”) 84 and 463. The conspiracies charged in Count One and Count Two of

the Second Superseding Indictment both begin in March 2008. See 2d Super. Indict.

¶¶ 22 & 48. The relevant portion of the chat communication in GX 84 and the trading

sequence in GX 463 both occurred on March 5, 2008. The United States misspoke

during the pretrial conference when it indicated that this conduct occurred outside of

the charged conspiracy periods (Tr. 77:05-07). Since this conduct at issue in these

exhibits occurred within the time period of the charged conspiracies, the admission

of GX 84 and 463 does not present a Federal Rule of Evidence 404(b) issue, nor does

it implicate the Seventh Circuit’s discussion of Rule 404(b) in United States v. Gomez,

63 F.3d 845 (7th Cir. 2014) (en banc).
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Dated: June 9, 2022                 Respectfully submitted,

                                    /s/ Matthew F. Sullivan
                                    Avi Perry
                                    Matthew F. Sullivan
                                    Lucy Jennings
                                    Christopher Fenton
                                    U.S. Department of Justice
                                    Criminal Division, Fraud Section
                                    1400 New York Ave. NW
                                    Washington, DC 20530
                                    (202) 578-6583




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